     Case
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 5
                 UNITED STATES DISTRICT COURT
 6
                      DISTRICT OF NEVADA
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10    UNITED STATES OF AMERICA,                   )       CASE NO.: 2:10-cr-407-KJD-RJJ
                                                  )
11                   PLAINTIFF,                   )
                                                  )       ORDER
12    VS.                                         )
                                                  )
13    TARL BRANDON, and                           )
      COREY SMILEY,                               )
14                                                )
                     DEFENDANTS.                  )
15                                                )
16          Based on the pending Application of the Government, and good cause appearing therefor,
17          IT IS HEREBY ORDERED that the defendants and offenses charged in case numbers 2:09-cr-
18    494-KJD-VCF, 2:10-cr-209-KJD-VCF and 2:10-cr-407-KJD-RJJ are joined for trial.
19                       15 day of ____________________
            DATED this _____        March               2012.
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21
                                          UNITED STATES DISTRICT JUDGE
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                                                      3
     Case
      Case2:10-cr-00407-KJD-GWF    Document 57
            2:10-cr-00407-KJD -RJJ Document 58             Filed03/13/12
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 1                           ELECTRONIC CERTIFICATE OF SERVICE

 2       I, the undersigned, hereby certify that I am an employee of the United States Attorney's Office,

 3    District of Nevada, and that on this day an electronic copy of the foregoing MOTION TO JOIN

 4    CASES FOR JOINT TRIAL was electronically served on counsel of record.

 5       Date: March 13, 2012.

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 7
                                   /S/ Pamela J. Mrenak
 8                                 PAMELA J. MRENAK
                                   Legal Assistant
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